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From:    Alexis Gluckman <alexisg@fu!tonmeyer.com>
To:      Bevan Cooney <btcooney@gmail.com>, Eric Fulton <eric@fultonmeyer.com>
Received(Date):     Tue, 2 Jun 2015 16:21:17 -0700
Subject: RE: Code rebel doing very well

Great news!


Alexis Gluckman

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— Original Message-----
From: Bevan Cooney [mailto:btcooney@gmail.com]
Sent: Tuesday, June 02, 2015 4:00 PM
To: Alexis Gluckman; Eric Fulton
Subject: Code rebel doing very well

IPO was a major success. I will be taking delivery of my roughly 500k shares by early next week. I will
send the certificate to your office once I recieve. I spoke with our banker Shapiro at cnb and he thinks he
will be able to get me a 1.2mm bridge loan based upon my stock position. We would pay off the 200k
unsecured loans I have with cnb and pay off my taxes and the rest is living expense until the 180 days
restriction is up and I can sell my stock. Cdrb just made the russeil 2000 index out of the gates. Exciting
stuff!




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